                    IN THE DISTRICT COURT OF THE UNITED STATES
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                      3:07cr108


UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                    ORDER
                                         )
EDWARD PORTER (4)                        )
________________________________________ )


       THIS MATTER is before the Court upon motion of the defendant for review of

detention. (Doc. No. 43).

       The defendant pled guilty to Count Five of the indictment on September 7, 2007, charging

possession of an unregistered shotgun. (Doc. No. 41: Plea Agreement; Doc. No. 45: Acceptance

and Entry of Guilty Plea). Thus, the defendant has been found guilty and is awaiting imposition

of sentence for an offense described in subparagraph (A) of subsection (f)(1) of 18 U.S.C. §

3142.1 Pursuant to § 3143(a)(2), the defendant shall be detained unless the Court finds a

substantial likelihood that a motion for acquittal or new trial will be granted; or an attorney for the

government has recommended that no sentence of imprisonment be imposed; and the Court finds

by clear and convincing evidence the person is not likely to flee or pose a danger to any other

person or the community. 18 U.S.C. § 3143(a)(2)(A)(i), (ii) and (B).

       Upon review of the record, even in a light most favorable to the defendant, the Court finds

the defendant has not alleged or established that there is a substantial likelihood that motion for

       1
        See e.g. United States v. Ankney, — F.3d —, 2007 WL 2482059, slip op. at *9 (9th Cir.
2007) (possession of unregistered sawed-off shotgun is a “crime of violence” because its mere
possession involves the substantial risk of violence); United States v. Rivas-Palacios, 244 F.3d
396, 397-398 (5th Cir. 2001) (same).


        Case 3:07-cr-00108-RJC           Document 46        Filed 09/11/07      Page 1 of 2
acquittal or new trial will be granted or that an attorney for the government has recommended that

no sentence of imprisonment be imposed. Thus, the Court is obligated by the statute to detain the

defendant because the prerequisites for release have not been met. Id.

       IT IS, THEREFORE, ORDERED that the defendant’s motion is DENIED.

       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals Service, and the U.S.

Probation Office.

                                                  Signed: September 10, 2007




                                                 2


        Case 3:07-cr-00108-RJC          Document 46        Filed 09/11/07      Page 2 of 2
